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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        IRAM BAKHTIAR,                                  Case No. 17-cv-04559-JST
                                                          Plaintiff,                        ORDER GRANTING MOTION FOR
                                   8
                                                                                            PRELIMINARY APPROVAL OF
                                                    v.                                      AMENDED CLASS ACTION
                                   9
                                                                                            SETTLEMENT AND REQUIRING
                                  10        INFORMATION RESOURCES, INC.,                    REVISIONS TO PROPOSED NOTICES
                                                          Defendant.                        Re: ECF Nos. 121
                                  11

                                  12
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                                  13

                                  14           Before the Court is Plaintiff Iram Bakhtiar’s renewed motion for preliminary approval of

                                  15   an amended class action settlement and preliminary certification of a settlement class. ECF No.

                                  16   121. The Court will grant the motion but will require Bakhtiar to revise and re-file the proposed

                                  17   notices before the Court authorizes their dissemination to the members of the settlement classes.

                                  18   I.      BACKGROUND

                                  19           A.        The parties and claims

                                  20           This wage-and-hour action arises out of the alleged misclassification by Defendant

                                  21   Information Resources, Inc. (“IRI”) of certain of its employees as exempt from federal and state

                                  22   overtime laws.

                                  23           IRI is a market research company that offers business intelligence and analysis. Plaintiff

                                  24   Bakhtiar alleges that IRI employees in certain non-management positions (collectively, “Client

                                  25   Service Managers”) were misclassified by IRI as exempt. Bakhtiar alleges that Client Service

                                  26   Managers are, in fact, non-exempt employees, because they perform basic client service and

                                  27   clerical tasks, namely “tasks without significant discretion, independence, or technical training or

                                  28   knowledge,” ECF No. 108 at 11, and do not manage client accounts or advise clients concerning
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                                   1   business strategy. Bakhtiar alleges that, as a result of this alleged misclassification, IRI

                                   2   improperly denied Client Service Managers overtime wages, meal and rest periods, reimbursement

                                   3   of business expenses, and accurate itemized wage statements.

                                   4          In the operative complaint, ECF No. 13, Bakhtiar asserts eight claims against IRI:

                                   5   (1) failure to pay overtime wages in violation of the Fair Labor Standards Act (“FLSA”), 29

                                   6   U.S.C. § 207; (2) failure to pay overtime wages in violation of California Labor Code §§ 510 and

                                   7   1194; (3) failure to provide meal and rest periods in violation of California Labor Code §§ 226.7

                                   8   and 512; (4) failure to provide accurate itemized wage statements in violation of California Labor

                                   9   Code § 226; (5) failure to pay wages upon discharge in violation of, and waiting penalties under,

                                  10   California Labor Code §§ 201-204; (6) failure to reimburse business expenses in violation of

                                  11   California Labor Code § 2802; (7) violations of the Unfair Competition Law (“UCL”), California

                                  12   Business and Professions Code § 17200; and (8) a claim for civil penalties under the Private
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                                  13   Attorney General Act of 2004 (“PAGA”), California Labor Code § 2698.

                                  14          Bakhtiar asserts these claims on her own behalf and on behalf of proposed classes under

                                  15   Rule 23 and a collective action under the FLSA.

                                  16                  Proposed California Class: All persons who are or have been
                                                      employed by IRI as Client Service Managers including Client
                                  17                  Solutions Managers, Client Service Consultants, Client Service
                                                      Analysts, and other similar, non-management positions, within the
                                  18                  State of California at any time from four years prior to the filing of
                                                      the initial Complaint through the final disposition of this case.
                                  19
                                                      Proposed California Penalties Subclass: All California Class
                                  20                  Members who are or have been employed by IRI at any time
                                                      within the year prior to the filing of the initial Complaint through
                                  21                  the final disposition of this case.
                                  22                  Proposed California Waiting Time Penalties Subclass: All
                                                      California Class Members who no longer work for IRI and have
                                  23                  not worked for IRI for more than 72 hours within three years prior
                                                      to the filing of the initial Complaint through the final disposition of
                                  24                  this case.
                                  25                  Collective Class: All persons who are or have been employed by
                                                      IRI as Client Service Managers including Client Solutions
                                  26                  Managers, Client Service Consultants, Client Service Analysts, and
                                                      other similar, non-management positions, within the United States
                                  27                  at any time from three years prior to the filing of the initial
                                                      Complaint through the final disposition of this case.
                                  28
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                                   1          B.      Procedural history

                                   2          Bakhtiar filed the first iteration of the complaint on August 9, 2017, ECF No. 1, and filed

                                   3   the operative complaint on October 13, 2017, ECF No. 13. Prior to filing the operative complaint,

                                   4   on August 9, 2017, Bakhtiar provided notice to the Labor and Workforce Development Agency

                                   5   (“LWDA”) regarding her intention to commence an action under PAGA. ECF No. 13-2 at 2. IRI

                                   6   filed an answer to the operative complaint on October 27, 2017. ECF No. 16. On February 22,

                                   7   2018, the Court denied IRI’s motion to transfer this action to the Northern District of Illinois.

                                   8   ECF No. 38.

                                   9          On July 26, 2018, the Court granted in part and denied in part Bakhtiar’s motion for

                                  10   conditional certification under the FLSA. ECF No. 61. The Court granted conditional

                                  11   certification of the Collective Class described above. Id. The Court also approved Bakhtiar’s

                                  12   proposed notice to the Collective Class, with a few modifications. Id. Other than the Collective
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                                  13   Class, none of the classes described in the operative complaint have been certified.

                                  14          After conducting discovery, Bakhtiar and ISI engaged in two mediation sessions before

                                  15   entering into a settlement agreement. ECF No. 108-1 at 2-3.

                                  16          On January 30, 2020, the Court denied without prejudice Bakhtiar’s motion for

                                  17   preliminary approval of a class action settlement and preliminary certification of a settlement class

                                  18   on the grounds that the motion and supporting materials did not contain the information required

                                  19   for evaluating whether the settlement agreement fell within the range of possible approval or

                                  20   whether any settlement class could be certified under Rule 23. See ECF No. 119 at 12-24. The

                                  21   Court also identified a number of deficiencies, including that the settlement classes were

                                  22   insufficiently defined, the plan of allocation appeared to unjustifiably overcompensate certain

                                  23   settlement class members, the proposed notices contained errors and omissions, the releases were

                                  24   overbroad, and the settlement agreement included a reversion clause and an unexplained “reserve

                                  25   fund.” Id.

                                  26          The parties amended the settlement agreement and the proposed notices to address the

                                  27   issues and deficiencies identified by the Court in its order of January 30, 2020.

                                  28          On March 16, 2020, Bakhtiar filed the present renewed motion for an order preliminarily
                                                                                         3
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                                   1   approving the amended settlement agreement and preliminarily certifying a settlement class. ECF

                                   2   No. 121.

                                   3          C.      Amended settlement agreement1

                                   4          The amended settlement agreement, ECF No. 121-2, requires ISI to pay a Total Settlement

                                   5   Amount of $2,250,000. Out of this amount, the following amounts will be deducted before the

                                   6   Net Distribution Fund will be distributed to the members of the settlement classes who do not opt

                                   7   out or withdraw their FLSA consent: up to $15,000 for a service award to Bakhtiar; up to

                                   8   $562,500 in attorneys’ fees (25% of the Total Settlement Amount); up to $25,000 in costs; up to

                                   9   $15,000 in costs of settlement administration; $16,875 for the LWDA’s portion of the PAGA

                                  10   Payment; and all employee-side payroll and employment taxes and tax expenses.2 ECF No. 121-2

                                  11   ¶¶ 2.27, 2.6, 2.36. The Net Distribution Fund is estimated to be $1,615,625. Id. The Total

                                  12   Settlement Amount does not include employer-side payroll and employment taxes for wage
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                                  13   payments under the amended settlement agreement, which ISI agrees to pay separately. Id. ¶ 2.36.

                                  14          The persons eligible to receive distributions from the Net Distribution Fund are grouped

                                  15   into three settlement classes. Each settlement class has its own release clause and its own

                                  16   procedures for deeming a settlement class member either eligible to receive a distribution as a

                                  17   member of the settlement class or excluded from the settlement class, as described in more detail

                                  18   below. The settlement classes are defined as follows:

                                  19                  “California Class Members” means all individuals employed by
                                                      Defendant within the state of California at any time from August 9,
                                  20                  2013, through May 30, 2019, and who have been employed by
                                                      Defendant as Client Service Managers, Client Solutions Managers,
                                  21                  Client Service Analysts, Client Service Consultants, and other
                                                      similar, non-management positions, including Client Insights
                                  22                  Analysts, and Client Insights Consultants. The California Class
                                                      Members did not opt into the FLSA as collective action members
                                  23                  and are not releasing FLSA Collective Claims. The California Class
                                  24
                                       1
                                        Bakhtiar filed a redline showing the changes that the parties made to the original settlement
                                  25   agreement. See ECF No. 121-3.
                                  26   2
                                        Under the amended settlement agreement, “PAGA Payment” means a total payment of $22,500,
                                       or 1% of the Total Settlement Fund, to settle all claims under PAGA. From this amount, 75%, or
                                  27   $16,875, will be paid to the LWDA and 25%, or $5,625, will be distributed to members of the
                                       California settlement class. ECF No. 121-2 ¶ 2.28.
                                  28
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                                                      Members are only releasing their California Claims as a result of
                                   1                  this settlement. The total number of California Class Members is 77
                                                      individuals.
                                   2
                                       Id. ¶ 2.2 (“California settlement class”).
                                   3
                                                      “FLSA Collective Members” means all individuals who were
                                   4                  employed by Defendant within the United States but outside of
                                                      California as Client Service Managers, Client Solutions Managers,
                                   5                  Client Service Analysts, Client Service Consultants, and other
                                                      similar, non-management positions, including Client Insights
                                   6                  Analysts, and Client Insights Consultants and who opted into this
                                                      matter prior to March 6, 2019, the date of the second mediation in
                                   7                  this case. The FLSA Collective Members are only releasing FLSA
                                                      Collective Claims. . . . The total number of FLSA Collective
                                   8                  Members is 46 individuals.
                                   9   Id. ¶ 2.16 (“FLSA settlement class”).

                                  10                  “Hybrid Settlement Members” means all individuals who are both
                                                      California Class Members and FLSA Collective Members. The
                                  11                  Hybrid Settlement Members are releasing California Class Claims
                                                      for the period they were employed in California and are also
                                  12                  releasing FLSA Collective Claims. The total number of Hybrid
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                                                      Members is 6 individuals.
                                  13
                                       Id. ¶ 2.19 (“hybrid settlement class”).
                                  14
                                              Out of the 129 members of the three settlement classes, which are identified in Exhibits 1
                                  15
                                       through 3 to the amended settlement agreement, ECF No. 121-2, only persons who do not opt out
                                  16
                                       will be eligible to receive payments as members of the California settlement class; only persons
                                  17
                                       who do not withdraw their consent to join under the FLSA during the settlement notice period
                                  18
                                       will be eligible to receive payments as members of the FLSA settlement class; and only persons
                                  19
                                       who do not withdraw their FLSA consent to join and do not opt out during the settlement notice
                                  20
                                       period will be eligible to receive payments as members of the hybrid settlement class. Id. ¶¶ 2.3,
                                  21
                                       2.17, 2.19, 2.23.
                                  22
                                              The amended settlement agreement describes a plan for distributing the Net Distribution
                                  23
                                       Fund to eligible members of the settlement classes as one that will allocate funds based on “a
                                  24
                                       proportional, workweek basis, with a multiplier of 1.75x applied to workweeks of the California
                                  25
                                       Settlement Class Members to account for the additional causes of action and remedies available to
                                  26
                                       and released by wage claimants in California, and a multiplier of 2.0x applied to workweeks of
                                  27

                                  28
                                                                                        5
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                                   1   the Hybrid Settlement Members who have both California claims and opted-into the FLSA

                                   2   collective action.” Id. ¶ 4.6.

                                   3          Bakhtiar’s counsel estimates that “Class Members’ theoretical unpaid wages, including

                                   4   missed meal and rest breaks and liquidated damages, total $8,684,583.35 for the California Class

                                   5   and $4,366,459.52 for the FLSA Class, for a total of $13,051,042.87.” ECF No. 121-1 ¶¶ 5-6.

                                   6   The total possible recovery for the settlement classes increases to $15,931,764.30 if maximum

                                   7   PAGA penalties, which total $2,880,721.43, are taken into account. Id. The Total Settlement

                                   8   Amount of $2,250,000, therefore, equals 14.12% of the total possible recovery. Id.

                                   9          If any checks remain uncashed or amounts remain undistributed totaling less than $10,000,

                                  10   then the settlement administrator will pay such funds to the UC Hastings College of the Law

                                  11   Workers’ Rights Clinic. ECF No. 121-2 ¶ 10.3. Counsel for Bakhtiar represent that this

                                  12   organization is an appropriate cy pres recipient because it provides legal services for low-wage
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                                  13   workers in California in wage-and-hour cases. ECF No. 108-1 at 14. Any undistributed amounts

                                  14   in excess of $10,000 will be redistributed to the settlement class members pro rata. ECF No. 121-

                                  15   2 ¶ 10.4.

                                  16          The amended settlement agreement contains a “blow” provision that allows ISI to void the

                                  17   agreement if more than 10% of the California settlement class members and hybrid settlement

                                  18   class members opt out, or more than five FLSA settlement class members who have not

                                  19   previously released their claims request to withdraw their consent to join during the settlement

                                  20   notice period. Id. ¶ 7.3.

                                  21          The claims that the members of each of the settlement classes will release if they do not

                                  22   opt out or withdraw their FLSA consent, respectively, are the following:

                                  23                  “California Class Claims” means all claims for wages,
                                                      reimbursements and related penalties actually alleged or that could
                                  24                  have been alleged in the Action by Plaintiff, on behalf of
                                                      herself and the California Class Members, that arise out of the
                                  25                  allegations alleged in the operative First Amended Complaint,
                                                      including but not limited to: (1) Failure to Pay All Wages; (2)
                                  26                  Failure to Pay Overtime under Cal. Labor Code §§ 510, 1194, and
                                                      IWC Wage Orders; (3) Failure to Provide and/or Authorize Meal
                                  27                  and Rest Periods under Cal. Labor Code §§ 226.7, 512, and IWC
                                                      Wage Orders; (4) Failure to Provide Accurate Itemized Wage
                                  28                  Statements under Cal. Labor Code § 226; (5) Failure to Pay Earned
                                                                                        6
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                                                       Wages Upon Discharge, Waiting Time Penalties under Cal. Labor
                                   1                   Code §§ 201-204; (6) Failure to Reimburse Business Expenses
                                                       under Cal. Labor Code § 2802; and (7) Unlawful and/or Unfair
                                   2                   Business Practices in Violation of Cal. Business & Professions
                                                       Code § 17200, et seq.; (8) penalties pursuant to the Private
                                   3                   Attorneys General Act (“PAGA”), Cal. Labor Code § 2699, et
                                                       seq.; and (9) attorneys’ fees and costs of litigation associated with
                                   4                   this Action. The California Class Claims do not encompass the
                                                       FLSA Collective Claims and do not release any claims under the
                                   5                   FLSA. . . .
                                   6                   “FLSA Collective Claims” means all federal claims for wages,
                                                       benefits and related penalties actually alleged or that could have
                                   7                   been alleged in the Action by Plaintiff, on behalf of herself and the
                                                       FLSA Collective Members, based on the facts alleged in the
                                   8                   operative First Amended Complaint, (1) namely, failure to pay all
                                                       minimum and overtime wages due under the Fair Labor Standards
                                   9                   Act (29 U.S.C. §201, et seq.) and (2) attorneys’ fees and costs of
                                                       litigation incurred to litigate and resolve this Action. The FLSA
                                  10                   Collective Claims do not encompass the California Class Claims,
                                                       and the California Class Claims do not encompass the FLSA
                                  11                   Collective Claims. . . .
                                  12                   “Hybrid Settlement Members’ Released Claims” means the (1)
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                                                       California Class Claims that the Hybrid Members are fully and
                                  13                   irrevocably releasing in exchange for the consideration provided
                                                       by this Settlement Agreement, whether arising at law, in contract
                                  14                   or in equity, and whether for economic or non-economic damages,
                                                       restitution, injunctive relief, penalties or liquidated damages from
                                  15                   August 9, 2013, through May 30, 2019, and (2) the FLSA
                                                       Collective Claims that the FLSA Settlement Collective Members
                                  16                   are fully and irrevocably releasing in exchange for the
                                                       consideration provided by this Settlement Agreement from three
                                  17                   years before each FLSA Collective Members Opt-In Date through
                                                       the date of the Preliminary Approval Order.
                                  18
                                       Id. ¶¶ 2.1, 2.15, 2.21.
                                  19
                                               As part of the amended settlement agreement, IRI agreed to reevaluate the job
                                  20
                                       responsibilities of persons who hold certain positions and to, among other things, provide status
                                  21
                                       reports to class counsel for two years after the entry of final judgment with respect to its re-
                                  22
                                       classification of these employees, if any. Id. ¶ 4.15.
                                  23
                                               Within 10 days of preliminary approval, ISI will provide to the settlement administrator
                                  24
                                       the last-known mailing address and other known contact information of the members of the
                                  25
                                       settlement classes, and within 20 days of preliminary approval, the settlement administrator will
                                  26
                                       send a notice specifically tailored to each settlement class by first-class mail, as well as by email
                                  27
                                       and text message to those for whom email and cell phone numbers are available in ISI’s human
                                  28
                                                                                          7
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                                   1   resources database. Id. ¶¶ 6.1, 6.2, 6.9. Bakhtiar’s counsel also will maintain a website with links

                                   2   to relevant case and settlement documents, and a telephone number, email address, and post office

                                   3   box to receive communications from members of the settlement classes. Id. ¶ 6.13.

                                   4          Within 45 days from the date the notice is mailed, members of the California settlement

                                   5   class may object or opt-out, and members of the FLSA settlement class may withdraw their

                                   6   consent. Id. ¶¶ 2.12, 7.1, 8.2. Payments will be mailed to the addresses of eligible settlement

                                   7   class members; eligible settlement class members are not required to submit a claim form. Id. ¶¶

                                   8   10.2, 10.3.

                                   9          Members of the settlement classes may dispute the dates of their employment, location, or

                                  10   total workweeks by providing notice to the settlement administrator before the date for opting out

                                  11   or objecting to the amended settlement agreement, and they will have the burden to demonstrate

                                  12   through employment documentation described in paragraph 6.8 of the amended settlement
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                                  13   agreement that the settlement administrator’s calculations are incorrect. Id. ¶ 6.8.

                                  14          D.      Jurisdiction

                                  15          The Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1367.

                                  16   II.    LEGAL STANDARD

                                  17          The Ninth Circuit maintains a “strong judicial policy” that favors the settlement of class

                                  18   actions. Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992). Rule 23 requires

                                  19   courts to employ a two-step process in evaluating a class action settlement. First, the parties must

                                  20   show “that the court will likely be able to . . . (i) approve the proposal under Rule 23(e)(2).” Fed.

                                  21   R. Civ. P. 23(e)(1)(B). In other words, a court must make a preliminary determination that the

                                  22   settlement “is fair, reasonable, and adequate” when considering the factors set out in Rule

                                  23   23(e)(2). Fed. R. Civ. P. 23(e)(2). The court’s task at the preliminary approval stage is to

                                  24   determine whether the settlement falls “within the range of possible approval.” In re Tableware

                                  25   Antitrust Litig., 484 F. Supp. 2d 1078, 1080 (N.D. Cal. 2007) (citation omitted); see also Manual

                                  26   for Complex Litigation, Fourth § 21.632 (FJC 2004) (explaining that courts “must make a

                                  27   preliminary determination on the fairness, reasonableness, and adequacy of the settlement terms

                                  28   and must direct the preparation of notice of the certification, proposed settlement, and date of the
                                                                                         8
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                                   1   final fairness hearing”). “The initial decision to approve or reject a settlement proposal is

                                   2   committed to the sound discretion of the trial judge.” City of Seattle, 955 F.2d at 1276 (citation

                                   3   omitted). Courts “must be particularly vigilant not only for explicit collusion, but also for more

                                   4   subtle signs that class counsel have allowed pursuit of their own self-interests and that of certain

                                   5   class members to infect the negotiations.” In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d

                                   6   935, 947 (9th Cir. 2011).

                                   7          If no class has yet been certified, a court must likewise make a preliminary finding that it

                                   8   “will likely be able to . . . (ii) certify the class for purposes of judgment on the proposal.” Fed. R.

                                   9   Civ. P. 23(e)(1)(B). If the court makes these preliminary findings, it “must direct notice in a

                                  10   reasonable manner to all class members who would be bound by the proposal.” Id. Second,

                                  11   courts must hold a hearing pursuant to Rule 23(e)(2) to make a final determination of whether the

                                  12   settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2).
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                                  13          Within this framework, preliminary approval of a settlement is appropriate if “the proposed

                                  14   settlement appears to be the product of serious, informed, non-collusive negotiations, has no

                                  15   obvious deficiencies, does not improperly grant preferential treatment to class representatives or

                                  16   segments of the class, and falls within the range of possible approval.” In re Tableware, 484 F.

                                  17   Supp. 2d at 1079 (citation omitted). The proposed settlement need not be ideal, but it must be fair

                                  18   and free of collusion, consistent with counsel’s fiduciary obligations to the class. Hanlon v.

                                  19   Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998) (“Settlement is the offspring of compromise;

                                  20   the question we address is not whether the final product could be prettier, smarter or snazzier, but

                                  21   whether it is fair, adequate and free from collusion.”). To assess a settlement proposal, courts

                                  22   must balance a number of factors:

                                  23                  [T]he strength of the plaintiffs’ case; the risk, expense, complexity,
                                                      and likely duration of further litigation; the risk of maintaining class
                                  24                  action status throughout the trial; the amount offered in settlement;
                                                      the extent of discovery completed and the stage of the proceedings;
                                  25                  the experience and views of counsel; the presence of a governmental
                                                      participant; and the reaction of the class members to the proposed
                                  26                  settlement.
                                  27

                                  28
                                                                                          9
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                                   1   Id. at 1026 (citations omitted).3 The proposed settlement must be “taken as a whole, rather than

                                   2   the individual component parts,” in the examination for overall fairness. Id. Courts do not have

                                   3   the ability to “delete, modify, or substitute certain provisions”; the settlement “must stand or fall in

                                   4   its entirety.” Id. (citation omitted).

                                   5   III.    DISCUSSION

                                   6           Bakhtiar moves (1) for preliminary approval of the amended settlement agreement; (2) for

                                   7   preliminary certification of the California settlement class; (3) for appointment of Brian Schwartz

                                   8   Law as counsel for the settlement classes and Bakhtiar as class representative; (4) for appointment

                                   9   of Rust Consulting as settlement administrator; (5) for approval of the proposed notices; and (6)

                                  10   for the scheduling of the final fairness hearing.

                                  11           As discussed in more detail below, Bakhtiar has shown that the amended settlement

                                  12   agreement satisfies the requirements for preliminary approval and that the California settlement
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                                  13   class can be preliminarily certified for settlement purposes. However, the proposed notices

                                  14   continue to contain errors that must be corrected before the Court authorizes their dissemination to

                                  15   the settlement class members.

                                  16           A.      Fairness, adequacy, and reasonableness

                                  17           For the reasons discussed below, the Court finds that the amended settlement agreement

                                  18   “appears to be the product of serious, informed, non-collusive negotiations, has no obvious

                                  19   deficiencies, does not improperly grant preferential treatment to class representatives or segments

                                  20   of the class, and falls within the range of possible approval.” In re Tableware, 484 F. Supp. 2d at

                                  21   1079.

                                  22                   1.      No signs of collusion

                                  23           Because the amended settlement agreement was reached prior to class certification, “there

                                  24

                                  25   3
                                         These factors are substantially similar to those articulated in the 2018 amendments to Rule 23(e),
                                       which were not intended “to displace any factor [developed under existing Circuit precedent], but
                                  26   rather to focus the court and the lawyers on the core concerns of procedure and substance that
                                       should guide the decision whether to approve the proposal.” Hefler v. Wells Fargo & Co., No. 16-
                                  27   CV-05479-JST, 2018 WL 6619983, at *4 (N.D. Cal. Dec. 18, 2018) (quoting Fed. R. Civ. P.
                                       23(e)(2) advisory committee’s note to 2018 amendment).
                                  28
                                                                                           10
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                                   1   is an even greater potential for a breach of fiduciary duty owed the class during settlement,” and

                                   2   accordingly, it must withstand “an even higher level of scrutiny for evidence of collusion or other

                                   3   conflicts of interest[.]” In re Bluetooth, 654 F.3d at 946. Signs of collusion include: (1) a

                                   4   disproportionate distribution of the settlement fund to counsel; (2) negotiation of a “clear sailing”

                                   5   provision; and (3) an arrangement for funds not awarded to revert to defendant rather than to be

                                   6   added to the settlement fund. Id. at 947. If “multiple indicia of possible implicit collusion” are

                                   7   present, a district court has a “special ‘obligat[ion] to assure itself that the fees awarded in the

                                   8   agreement were not unreasonably high[.]’” Id. (quoting Staton v. Boeing Co., 327 F.3d 938, 965

                                   9   (9th Cir. 2003)) (alteration in the original).

                                  10           As to the first Bluetooth factor, the Ninth Circuit has set a “benchmark” fee award of 25%

                                  11   of the recovery obtained for common fund settlements such as this one. Six (6) Mexican Workers

                                  12   v. Ariz. Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990). Here, counsel for Bakhtiar intend to
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                                  13   seek no more than that percentage. The Court therefore finds that this factor does not indicate the

                                  14   presence of collusion as set forth in Bluetooth.

                                  15           As to the second factor, the settlement does contain a clear sailing provision. See ECF No.

                                  16   121-2 ¶ 4.43 (“IRI agrees not to oppose a request for the Class Counsel Award”). When a

                                  17   settlement contains a clear sailing provision, “the district court has a heightened duty to peer into

                                  18   the provision and scrutinize closely the relationship between attorneys’ fees and benefits to the

                                  19   class, being careful to avoid awarding ‘unreasonably high’ fees simply because they are

                                  20   uncontested.” In re Bluetooth, 654 F.3d at 948 (citation omitted). However, a “‘clear sailing’

                                  21   provision ‘does not signal the possibility of collusion’ where, as here, Class Counsel’s fee will be

                                  22   awarded by the Court from the same common fund as the recovery to the class.” In re High-Tech

                                  23   Emp. Antitrust Litig., No. 11-cv-02509-LHK, 2015 WL 5158730, at *14 (N.D. Cal. Sept. 2, 2015)

                                  24   (quoting Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 961 n.5 (9th Cir. 2009)).

                                  25           As to the third factor, the amended settlement agreement does not contain a reversionary

                                  26   provision. Although the amended settlement agreement allows ISI to void the agreement in the

                                  27   event that more than 10% of the California settlement class members and hybrid settlement class

                                  28   members opt out, or more than five FLSA settlement class members who have not previously
                                                                                          11
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                                   1   released their claims request to withdraw their consent to join during the settlement notice period,

                                   2   this termination option is not a reversionary provision and does not suggest the existence of

                                   3   collusion or that the amended settlement agreement is not fair or reasonable. See In re Online

                                   4   DVD-Rental Antitrust Litig., 779 F.3d 934, 948 (9th Cir. 2015).

                                   5          In light of the foregoing, the Court finds no signs of collusion.

                                   6                  2.      No obvious deficiencies

                                   7          In its order of January 30, 2020, the Court identified a number of deficiencies that

                                   8   precluded the Court from determining that the settlement fell within the range of possible

                                   9   approval. See ECF No. 119 at 12-24. These deficiencies included that the settlement classes were

                                  10   insufficiently defined, the plan of allocation appeared to unjustifiably overcompensate certain

                                  11   settlement class members, the proposed notices contained errors and omissions, the releases were

                                  12   overbroad, and that the settlement agreement included a reversion clause and an unexplained
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                                  13   “reserve fund.” Id.

                                  14          These deficiencies, except for the errors in the proposed notices, which the Court discusses

                                  15   in more detail below, have been cured, and the Court has found no further deficiencies in the

                                  16   amended settlement agreement.

                                  17                  3.      No preferential treatment

                                  18          Under this factor, the Court looks at whether the settlement agreement provides

                                  19   preferential treatment to any class member. The Court concludes that the amended settlement

                                  20   agreement does not grant preferential treatment to any settlement class member and that this factor

                                  21   therefore weighs in favor of granting preliminary approval.

                                  22          Under the amended settlement agreement, a multiplier of 1.75 will be applied to the

                                  23   workweeks of California settlement class members, and a multiplier of 2 will be applied to the

                                  24   workweeks of hybrid settlement class members before members of the settlement classes receive a

                                  25   pro rata payment from the Net Distribution Fund based on the number of workweeks they worked

                                  26   for ISI during the relevant time period. ECF No. 121-2 ¶ 4.7. Under this plan of allocation,

                                  27   California and hybrid settlement class members will receive larger payments per workweek

                                  28   relative to members of the FLSA settlement class. Counsel for Bakhtiar justify these larger
                                                                                        12
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                                   1   payments on the ground that the asserted claims under California law have a greater value than the

                                   2   FLSA claims, because the FLSA claims are limited to the recovery of overtime damages, whereas

                                   3   the California claims are not so limited, as they also permit the recovery of damages for missed

                                   4   meal and break periods, failure to provide accurate itemized wage statements, failure to reimburse

                                   5   business expenses. ECF No. 121 at 15. Further, California law permits for greater recovery of

                                   6   overtime wages than the FLSA. Id. Given the foregoing, counsel for Bakhtiar estimate that the

                                   7   best-day recovery for the California settlement class, including all claims and PAGA penalties, is

                                   8   estimated to be $8,684,583.35, roughly twice as much as the $4,366,459.52 estimated best-day

                                   9   recovery for the FLSA settlement class. ECF No. 121 at 15; ECF No. 121-1 ¶¶ 5-8. The Court is

                                  10   persuaded that the plan of allocation under the amended settlement agreement, which distributes

                                  11   settlement funds based on the relative amount of damages that each settlement class could recover,

                                  12   is fair and reasonable to all settlement class members. See In re Vitamins Antitrust Litig., No. 99-
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                                  13   197 TFH, 2000 WL 1737867, at *6 (D.D.C. Mar. 31, 2000) (“Settlement distributions, such as this

                                  14   one, that apportions funds according to the relative amount of damages suffered by class members

                                  15   have repeatedly been deemed fair and reasonable.”).

                                  16          In its order of January 30, 2020, the Court requested an explanation in any renewed motion

                                  17   for preliminary approval as to why separate funds were not created for each settlement class. In

                                  18   the present motion, Bakhtiar explains that separate funds are sometimes required by courts where

                                  19   the settlement contains a reversionary clause that would have the effect of reducing, unjustifiably,

                                  20   the recovery of certain settlement class members. See ECF No. 121 at 15-16. In such

                                  21   circumstances, the separate funds are created to protect settlement class members whose recovery

                                  22   should not be reduced by the reversion of settlement funds to the defendant. Id.; see also Millan v.

                                  23   Cascade Water Services, Inc., 310 F.R.D. 593, 602 (E.D. Cal. 2015) (noting that it would be

                                  24   contrary to the FLSA’s objectives to permit the defendant to retain funds pursuant to a

                                  25   reversionary clause that were intended for FLSA collective members and that the “creation of

                                  26   separate settlement funds for the FLSA class and the Rule 23 class” would protect FLSA

                                  27   collective members from the effects of the settlement’s reversionary clause). Here, the Court

                                  28
                                                                                        13
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                                   1   concludes that separate funds are unnecessary because the amended settlement agreement does not

                                   2   contain any reversionary clause.

                                   3          Bakhtiar intends to seek an award of $15,000 for her contributions to the case. The Ninth

                                   4   Circuit has recognized that service awards to named plaintiffs in a class action are permissible and

                                   5   do not necessarily render a settlement unfair or unreasonable. See, e.g., Rodriguez, 563 F.3d at

                                   6   958-69. The Court notes, however, that the presumptively reasonable amount is $5,000 per

                                   7   plaintiff. See Smith v. Am. Greetings Corp., No. 14-CV-02577-JST, 2016 WL 362395, at *10

                                   8   (N.D. Cal. Jan. 29, 2016) (citation omitted). The Court will determine the appropriate amount for

                                   9   Bakhtiar’s service award at the final fairness hearing, at which time Bakhtiar will be required to

                                  10   justify the amount of the proposed award.

                                  11                  4.      The amended settlement agreement is within the range of possible
                                                              approval
                                  12
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                                  13           To determine whether a settlement agreement falls within the range of possible approval,

                                  14   courts evaluate and balance certain factors, including: the strength of the plaintiffs’ case; the risk,

                                  15   expense, complexity, and likely duration of further litigation; the risk of maintaining class action

                                  16   status throughout the trial; the amount offered in settlement; the extent of discovery completed and

                                  17   the stage of the proceedings; the experience and views of counsel; and the presence of a

                                  18   governmental participant. Hanlon, 150 F.3d at 1026. All of these factors weigh in favor of

                                  19   granting preliminary approval here.

                                  20                          a.      The strength of the plaintiff’s case and the risk of continued
                                                                      litigation
                                  21

                                  22          The risk, expense, complexity, and likely duration of further litigation weigh in favor of

                                  23   granting preliminary approval. Although Bakhtiar’s counsel represents that the claims in this

                                  24   action are strong, counsel identify several significant obstacles in obtaining and maintaining

                                  25   certification under Rule 23 and surviving summary judgment based on administrative exemptions

                                  26   that ISI has raised as defenses. See ECF No. 121 at 12-13; ECF No. 108 at 14-17; see also

                                  27   Benedict v. Hewlett-Packard Co., 314 F.R.D. 457, 476 (N.D. Cal. 2016) (denying motion to

                                  28   certify classes in misclassification action on the ground that plaintiffs cannot show predominance
                                                                                          14
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                                   1   in light of administrative exemptions raised by defendants, the applicability of which requires an

                                   2   individualized factual inquiry regarding each employee’s duties and discretion to perform duties).

                                   3   Accordingly, continued litigation carries significant risk and could result in no recovery for the

                                   4   settlement classes. Moreover, further litigation would require investing additional time and

                                   5   resources on discovery, class certification, dispositive and discovery motions, trial, and appeals.

                                   6   Accordingly, obtaining significant and immediate recovery for the settlement classes is superior to

                                   7   taking the risk of recovering less or nothing by continuing to litigate.

                                   8                          b.      The amount offered in settlement

                                   9          To evaluate the adequacy of the settlement amount, “courts primarily consider plaintiffs’

                                  10   expected recovery balanced against the value of the settlement offer.” In re Tableware, 484 F.

                                  11   Supp. 2d at 1080.

                                  12          As discussed above, Bakhtiar’s counsel estimates that “Class Members’ theoretical unpaid
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                                  13   wages, including missed meal and rest breaks and liquidated damages, total $8,684,583.35 for the

                                  14   California Class and $4,366,459.52 for the FLSA Class, for a total of $13,051,042.87.” ECF No.

                                  15   121-1 ¶¶ 5-6. The total possible recovery for the settlement classes increases to $15,931,764.30 if

                                  16   maximum PAGA penalties, which total $2,880,721.43, are taken into account. Id. The Total

                                  17   Settlement Amount of $2,250,000 therefore equals 14.12% of the total possible recovery, which is

                                  18   a fair and reasonable percentage. Id.; Officers for Justice v. Civil Serv. Comm’n of City & Cnty. of

                                  19   S.F., 688 F.2d 615, 628 (9th Cir. 1982) (“[I]t is well-settled law that a cash settlement amounting

                                  20   to only a fraction of the potential recovery does not per se render the settlement inadequate or

                                  21   unfair.”). Further, the amended settlement agreement also provides the settlement class members

                                  22   with non-monetary relief, because it requires ISI to reevaluate the job responsibilities of persons

                                  23   who hold certain positions and to, among other things, provide status reports to class counsel for

                                  24   two years after the entry of final judgment with respect to its re-classification of these employees,

                                  25   if any. See Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048-50 (9th Cir. 2002) (noting that non-

                                  26   monetary benefits, such as requiring the defendant “to change its personnel classification

                                  27   practices,” are relevant to evaluating a class settlement).

                                  28
                                                                                         15
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                                   1           Accordingly, the Court finds that the settlement class members’ expected recovery under

                                   2   the amended settlement agreement is fair and reasonable, and that this factor weighs in favor of

                                   3   granting preliminary approval.

                                   4                          c.     The extent of discovery completed and the stage of the
                                                                     proceedings
                                   5
                                               The parties conducted significant discovery prior to settlement. The parties exchanged
                                   6
                                       over 70,000 pages of documents and conducted several depositions. ECF No. 108 at 10; ECF No.
                                   7
                                       108-1 ¶ 5. Additionally, as discussed above, the parties engaged in some motion practice,
                                   8
                                       including litigating a motion to transfer and a motion for conditional certification of an FLSA
                                   9
                                       collective action.
                                  10
                                               Accordingly, the parties had sufficient information about the strengths and weaknesses of
                                  11
                                       their positions prior to negotiating and entering into the amended settlement agreement, which
                                  12
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                                       weighs in favor of granting preliminary approval. In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454,
 United States District Court




                                  13
                                       459 (9th Cir. 2000) (factor weighed in favor of approving settlement where plaintiffs had
                                  14
                                       conducted significant discovery and consulted with damages and accounting experts).
                                  15
                                                              d.     The experience and views of counsel
                                  16
                                               Plaintiffs’ counsel recommend that the Court approve the settlement. “The
                                  17
                                       recommendations of plaintiffs’ counsel should be given a presumption of reasonableness.” In re
                                  18
                                       Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2008) (citation omitted). Counsel
                                  19
                                       for Bakhtiar have extensive experience in litigating class and collective actions such as this one.
                                  20
                                       See ECF No. 108-1 ¶ 26. This factor weighs in favor of approval.4
                                  21
                                                              e.     The presence of a government participant
                                  22
                                               CAFA requires that notice be provided to the appropriate state and federal officials within
                                  23
                                       ten days of the filing of a proposed class action settlement. See 28 U.S.C. § 1715(b). “An order
                                  24

                                  25

                                  26   4
                                         The Court considers this factor, as it must, but gives it little weight. “[A]lthough a court might
                                       give weight to the fact that counsel for the class or the defendant favors the settlement, the court
                                  27   should keep in mind that the lawyers who negotiated the settlement will rarely offer anything less
                                       than a strong, favorable endorsement.” Principles of the Law of Aggregate Litigation § 3.05 cmt.
                                  28
                                       a (Am. Law. Inst. 2010).
                                                                                          16
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                                   1   giving final approval of a proposed settlement may not be issued earlier than 90 days after the later

                                   2   of the dates on which the appropriate Federal official and the appropriate State official are served

                                   3   with the notice required under subsection (b).” Id. § 1715(d).

                                   4           ISI has already served notice of the settlement on the appropriate federal and state officials.

                                   5   See ECF No. 121-2 ¶ 5.4. No government entity has filed any objection to the amended settlement

                                   6   agreement. Accordingly, this factor weighs in favor of granting preliminary approval. See Garner

                                   7   v. State Farm Mut. Auto. Ins. Co., CV 08 1365 CW EMC, 2010 WL 1687832, at *15 (N.D. Cal.

                                   8   Apr. 22, 2010) (“Although CAFA does not create an affirmative duty for either state or federal

                                   9   officials to take any action in response to a class action settlement, CAFA presumes that, once put

                                  10   on notice, state or federal officials will raise any concerns that they may have during the normal

                                  11   course of the class action settlement procedures.”).

                                  12           B.     Certification for settlement purposes
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                                  13                   1.      Numerosity

                                  14           Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is

                                  15   impracticable.” Fed. R. Civ. P. 23(a)(1).

                                  16           The Court concludes that Bakhtiar has shown that the California settlement class contains

                                  17   77 members. This number is sufficiently numerous that joinder would be impracticable.

                                  18   Accordingly, this factor is satisfied.

                                  19                   2.      Commonality

                                  20           Rule 23(a)(2) requires that there be “questions of law or fact common to the class.” Fed.

                                  21   R. Civ. P. 23(a)(2). A common question is one “capable of classwide resolution . . . which means

                                  22   that determination of its truth or falsity will resolve an issue that is central to the validity of each

                                  23   one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). For

                                  24   the purposes of Rule 23(a)(2), “even a single common question” is sufficient. Id. at 359

                                  25   (quotation marks and internal alterations omitted).

                                  26           Bakhtiar asserts that commonality exists because there are questions of law or fact

                                  27   common to the California settlement class, such as whether California-based Client Service

                                  28   Managers worked more than 40 hours per week or eight hours per day and were improperly
                                                                                           17
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                                   1   classified as exempt from California wage-and-hour law based upon the administrative

                                   2   exemptions that ISI has raised as defenses. See ECF No. 121 at 16-17. The Court concludes that

                                   3   these are indeed common questions and that the commonality requirement is therefore met.

                                   4                    3.      Typicality

                                   5             Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical

                                   6   of the claims or defenses of the class.” Fed R. Civ. P. 23(a)(3). “The purpose of the typicality

                                   7   requirement is to assure that the interest of the named representative aligns with the interests of the

                                   8   class.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). “The test of typicality

                                   9   ‘is whether other members have the same or similar injury, whether the action is based on conduct

                                  10   which is not unique to the named plaintiffs, and whether other class members have been injured by

                                  11   the same course of conduct.’” Id. (quoting Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D. Cal.

                                  12   1985)).
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                                  13             The Court concludes that Bakhtiar’s claims are typical of the claims of the California

                                  14   settlement class members, because Bakhtiar’s claims arise out of the same course of conduct and

                                  15   are based on the same theories as the claims of the California settlement class members.

                                  16   Accordingly, this factor is also met.

                                  17                    4.      Adequacy

                                  18             Rule 23(a)(4) requires that “the representative parties will fairly and adequately protect the

                                  19   interests of the class.” Fed. R. Civ. P. 23(a)(4). This “requires that two questions be addressed:

                                  20   (a) do the named plaintiffs and their counsel have any conflicts of interest with other class

                                  21   members and (b) will the named plaintiffs and their counsel prosecute the action vigorously on

                                  22   behalf of the class?” In re Mego, 213 F.3d at 462.

                                  23             The Court finds that Bakhtiar and her counsel will fairly and adequately represent the

                                  24   interests of the members of the California settlement class. The record lacks any indication that

                                  25   Bakhtiar or her counsel have any conflict of interest with members of the California settlement

                                  26   class, and it shows that counsel have significant experience in litigating complex class actions

                                  27   such as this one. The adequacy requirement is therefore satisfied.

                                  28
                                                                                           18
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                                   1                  5.      Predominance and superiority

                                   2          Finally, Rule 23(b)(3) requires that “questions of law or fact common to class members

                                   3   predominate over any questions affecting only individual members, and that a class action is

                                   4   superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

                                   5   R. Civ. P. 23(b)(3).

                                   6          The predominance inquiry “tests whether proposed classes are sufficiently cohesive to

                                   7   warrant adjudication by representation.” Amchem Prods. v. Windsor, 521 U.S. 591, 623 (1997).

                                   8   “When common questions present a significant aspect of the case and they can be resolved for all

                                   9   members of the class in a single adjudication, there is clear justification for handling the dispute

                                  10   on a representative rather than on an individual basis.” Hanlon, 150 F.3d at 1022. Similarly,

                                  11   “[w]here classwide litigation of common issues will reduce litigation costs and promote greater

                                  12   efficiency, a class action may be superior to other methods of litigation.” Valentino v. Carter-
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                                  13   Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996).

                                  14          The Court concludes that common questions of law and fact predominate here, such as

                                  15   whether California-based Client Service Managers worked more than 40 hours per week or eight

                                  16   hours per day and were improperly classified as exempt from California wage-and-hour law based

                                  17   upon the administrative exemptions that ISI has raised as defenses. The Court further concludes

                                  18   that a class action is a superior method for adjudicating the controversy. Litigating the claims of

                                  19   the California settlement class members in a single action would be far more efficient than

                                  20   litigating their claims individually.

                                  21          Because the California settlement class meets all of the requirements of Rules 23(a) and

                                  22   23(b)(3), the Court conditionally certifies the California settlement class for the purpose of

                                  23   settlement.

                                  24          C.      Notice plan

                                  25          Under Federal Rule of Civil Procedure 23(c)(2)(B), “the court must direct to class

                                  26   members the best notice that is practicable under the circumstances, including individual notice to

                                  27   all members who can be identified through reasonable effort.” The notice must state in plain,

                                  28   easily-understood language:
                                                                                         19
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                                                       (i) the nature of the action; (ii) the definition of the class certified;
                                   1                   (iii) the class claims, issues, or defenses; (iv) that a class member
                                                       may enter an appearance through an attorney if the member so
                                   2                   desires; (v) that the court will exclude from the class any member
                                                       who requests exclusion; (vi) the time and manner for requesting
                                   3                   exclusion; and (vii) the binding effect of a class judgment on
                                                       members under Rule 23(c)(3).
                                   4
                                       Fed. R. Civ. P. 23(c)(2)(B).
                                   5
                                               Here, as described above, ISI will provide to the settlement administrator the last-known
                                   6
                                       mailing address and other known contact information of the members of the settlement classes,
                                   7
                                       and within 20 days of preliminary approval, the settlement administrator will send a notice
                                   8
                                       specifically tailored to each settlement class by first-class mail, as well as by email and text
                                   9
                                       message to those for whom email and cell phone numbers are available in ISI’s human resources
                                  10
                                       database. ECF No. 121-2 ¶¶ 6.1, 6.2, 6.9. Bakhtiar’s counsel also will maintain a website with
                                  11
                                       links to relevant case and settlement documents, and a telephone number, email address, and post
                                  12
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                                       office box to receive communications from members of the settlement classes. Id. ¶ 6.13. The
 United States District Court




                                  13
                                       Court concludes that this proposed notice plan is the best one practicable and satisfies the
                                  14
                                       requirements of Rule 23 and due process.
                                  15
                                               The three proposed notices, each of which will be sent to each of the three settlement
                                  16
                                       classes, are attached as Exhibits A, B, and C to the amended settlement agreement, ECF No. 121-
                                  17
                                       2. While Bakhtiar corrected some of the errors and deficiencies that the Court identified in its
                                  18
                                       order of January 30, 2020, ECF No. 119, the three proposed notices continue to contain errors that
                                  19
                                       must be corrected before the Court can authorize their issuance to members of the settlement
                                  20
                                       classes, as follows:
                                  21
                                               The proposed notice that is Exhibit A to the amended settlement agreement, ECF No. 121-
                                  22
                                       2 at 49, is intended for members of the California settlement class only. Accordingly, this notice
                                  23
                                       should not include any statements suggesting that the members of the California settlement class
                                  24
                                       could also be members of the FLSA settlement class, because members of both of these settlement
                                  25
                                       classes (i.e., the hybrid settlement class members) will receive a different notice, namely Exhibit C
                                  26
                                       to the amended settlement agreement. Accordingly, counsel shall review the entire California
                                  27
                                       settlement class notice (Exhibit A) and remove any language that suggests that California
                                  28
                                                                                           20
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                                   1   settlement class members could also be members of the FLSA settlement class. See, e.g., ECF

                                   2   No. 121-2 at 49 (“Important notification to potential class and collective action members”); id.

                                   3   (stating that a California settlement class member will receive a gross allocation from the

                                   4   settlement if he or she does not “withdraw an existing FLSA consent-to-join”); id. at 51 (“Receive

                                   5   a FLSA settlement payment, if you opted into the case”).

                                   6          The proposed notice that is Exhibit B to the amended settlement agreement, ECF No. 121-

                                   7   2 at 64, is intended for members of the FLSA settlement class only. Accordingly, this notice

                                   8   should be revised so that it is directed to actual collective action members and not “potential”

                                   9   collective action members. See id. (“Important notification to potential collective action

                                  10   members”) (emphasis added).

                                  11          The proposed notice that is Exhibit A to the amended settlement agreement states a “gross

                                  12   allocation” amount on the first page of the notice, see ECF No. 121-2 at 49, whereas the proposed
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                                  13   notice that is Exhibit B to the amended settlement agreement states a “net allocation” amount on

                                  14   the first page of the notice, see ECF No. 121-2 at 64. Counsel do not explain the discrepancy

                                  15   between the proposed notices. Gross allocation and net allocation do not refer to the same thing

                                  16   according to the amended settlement agreement.

                                  17          The proposed notices state that there are 137 total settlement class members, see, e.g., 121-

                                  18   2 at 50, 64, but the correct number according to the amended settlement agreement is 129.

                                  19          The case number listed in the proposed notices is incorrect. See, e.g., ECF No. 121-2 at

                                  20   53, 60. The correct case number is 4:17-cv-04559-JST. Further, the chambers of the undersigned

                                  21   is located in Oakland, not San Francisco. Accordingly, the proposed notices shall direct

                                  22   settlement class members to send any objections to the Clerk for the United States District Court

                                  23   for the Northern District of California, at 1301 Clay Street, 4th Floor, Oakland, California, 94612.

                                  24   Also, the proposed notices shall state that the final fairness hearing will be held at the federal

                                  25   courthouse located at this same address in Oakland.

                                  26          The proposed notices continue to use the term “pro rata” instead using simpler language,

                                  27   such as “proportional.” See, e.g., ECF No. 121-2 at 55.

                                  28          The proposed notices continue not to state the net amount that will be available to
                                                                                         21
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                                   1   distribute to members of the settlement classes after deducting amounts for attorneys’ fees, costs,

                                   2   the service award, etc. See, e.g., ECF No. 121-2 at 55.

                                   3          The proposed notices do not describe the documentation that a settlement class member

                                   4   must submit to dispute the settlement administrator’s determinations as to the number of

                                   5   workweeks worked. See, e.g., ECF No. 121-2 at 57.

                                   6          The job classifications for which ISI will review job responsibilities as required under

                                   7   paragraph 4.15 of the amended settlement agreement do not match the job classifications listed in

                                   8   the proposed notices. See, e.g., ECF No. 121-2 at 55. The description of the non-monetary relief

                                   9   described in the proposed notices shall match exactly what is described in the amended settlement

                                  10   agreement.

                                  11          The proposed notices do not include the toll-free number that settlement class members

                                  12   can call to obtain more information about the settlement. See, e.g., ECF No. 121-2 at 62.
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                                  13                                              CONCLUSION

                                  14          For the reasons set forth above, the Court (1) conditionally certifies the California

                                  15   settlement class for settlement purposes only; (2) preliminarily approves the amended settlement

                                  16   agreement, notice plan, and allocation plan; and (3) preliminarily appoints Brian Schwartz Law as

                                  17   counsel for the settlement classes, Bakhtiar as class representative, and Rust Consulting as

                                  18   settlement administrator.

                                  19          Within seven days of the date this order is issued, Bakhtiar shall carefully review each of

                                  20   the proposed notices, in their entirety, and shall correct each instance of the types of errors

                                  21   described above and shall file revised proposed notices for the Court’s review, as well as redlines

                                  22   showing any changes made to the proposed notices. The Court will set a date for the final fairness

                                  23   hearing once the Court approves the revised proposed notices and authorizes the dissemination of

                                  24   such notices to the settlement classes.

                                  25          IT IS SO ORDERED.

                                  26   Dated: August 4, 2020
                                                                                         _____________________________________
                                  27
                                                                                                       JON S. TIGAR
                                  28                                                             United States District Judge

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